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                                                     U.S. District Court


                                                   Ohio Southern - Cincinnati

                                                                                                          Receipt Date: May 23, 2025 1:25PM




Rcpt. No: 100005560                                Trans. Date: May 23, 2025 1:25PM                                   Cashier ID: #KV (6469)


CD       Purpose Code                             Case/Party/Defendant

200      Civil Filing Fee- Non-Prisoner                                                                            405.00             405.00




CD       Tender Type

CC       Credit Card                                                                                                                 $405.00

                                                                            Total Due Prior to Payment:                              $405.00

                                                                                        Total Tendered:                              $405.00

                                                                                   Total Cash Received:


Comments: 25-cv-347




Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
will be charged for a returned check,
